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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KIMBERLY KUBAS,

               Plaintiff,

       v.                                            Civil Case No. 1:20-cv-2456(GLR)

331B, LLC
(D/B/A: ROCKWELL FITNESS)

               Defendant.

                                     PROPOSED ORDER

       UPON CONSIDERATION of Defendant 331B, LLC’s Consent Motion for Continuance

of Settlement Conference, this _______ day of ____________________, 2021, it is hereby:

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the Settlement Conference scheduled for March 1, 2021 is hereby

continued until such time that the Court shall schedule after April 23, 2021.



SO ORDERED.


                                      _____________________________________
                                      J. Mark Coulson
                                      United States Magistrate Judge
